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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION

 UNITED STATES OF AMERICA,                  )
                                            )
      Plaintiff,                            )
                                            )
 v.                                         )
                                                CRIMINAL NO. 15-00088-CG-B
                                            )
 XIULU RUAN, M.D.,                          )
                                            )
      Defendant.                            )
                                            )

                                        ORDER

         This matter is before the Court on the Motion for Entry of Order directing

 AltaPointe Health Systems, Inc. (“AltaPointe”), and its therapist Dr. John Hayes,

 non-parties in the above action, to comply with a trial subpoena issued by the

 United States upon AltaPointe and Dr. Hayes. (Doc. 258) Said Subpoena seeks to

 require Dr. Hayes to produce records and consult with and testify if necessary,

 pertaining to a former patient, who is now deceased, as specified in said subpoena,

 at the trial of the above matter on July 18, 2016, at the United States District

 Court for the Southern District of Alabama, or at such other date and time as the

 Court may order.

         This Court is of the opinion that good cause, as detailed in 42 U.S.C. § 290dd-

 2(b)(2)(C), exists to authorize the testimony and production of said records and that

 such disclosure of this information will promote the interests of justice.

 Furthermore, the disclosure of the information contained in said records and the

 testimony thereon is necessitated because there exists no other means to obtain the
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 equivalent information or the other ways of obtaining the information will not be

 effective, the need for disclosure of the information outweighs the public interest

 against disclosure, and, in this case, outweighs potential harm to the effected

 service or program and outweighs any harm to the effected therapist/counselor/

 patient relationship.

         It is therefore ORDERED that Dr. John Hayes and AltaPointe are to

 produce the records sought by said subpoena and that Dr. Hayes is to testify at the

 time and place set forth in said subpoena, or at such other date and time as the

 Court may order. However, in order to protect the confidential nature of and to

 protect the unauthorized disclosure of the covered documents, the following terms

 and conditions shall apply to the production of any documents if said documents

 are entered into evidence and not simply used by Dr. Hayes in his testimony:

    1.      All documents actually produced by Dr. John Hayes and AltaPointe shall

            be designated “protected information” which shall be treated as

            confidential by the Parties, attorneys and/or any other employees, agents

            or representatives of the Parties or their attorneys (hereinafter referred to

            as “involved Parties”). Furthermore, said involved Parties shall not

            permit disclosure of any such documents, their contents or any portion

            thereof, to any persons other than those persons who may be designated

            by the Court;

    2.      Before filing any information that has been designated “protected

            information” with the Court or any pleadings, motions or other papers



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         that disclose any such information, the filing party shall follow the

         procedure for filing documents under seal.

    3.   All “protected information” and copies thereof shall be destroyed upon

         termination or trial of this matter, or after appeal of any final judgment.

 DONE and ORDERED this 4th day of April, 2016.


                         /s/ Callie V. S. Granade
                         SENIOR UNITED STATES DISTRICT JUDGE




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